          Case: 1:20-cv-04577 Document #: 403 Filed: 10/08/24 Page 1 of 2 PageID #:16493

                      United States District Court Northern District of Illinois
                      MOTION FOR LEAVE TO APPEAR PRO HAC VICE
Case Title:                                                                                      Plantiff(s)

                                                                  VS.

                                                                                                 Defendant(s)


Case Number:                                             Judge:


I,                                                                                        hereby apply to the Court


under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of


                                                                                  by whom I have been retained.

I am a member in good standing and eligible to practice before the following courts:
                                        Title of Court                                             Date Admitted




I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
Court in the following actions:
                                                                                          Date of Application
     Case Number                                  Case Title                              (Granted or Denied)*




*If denied, please explain:
(Attach additional form if
necessary)
            Case: 1:20-cv-04577 Document #: 403 Filed: 10/08/24 Page 2 of 2 PageID #:16494
Has the applicant ever been:

censured, suspended, disbarred, or otherwise disciplined by any court?                Yes                  No

or is the applicant currently the subject of an investigation of the
applicant’s professional conduct?                                                     Yes                  No

transferred to inactive status, voluntarily withdrawn, or resigned from the
bar of any court?                                                                     Yes                  No

denied admission to the bar of any court?                                             Yes                  No

held in contempt of court?                                                            Yes                  No

NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant’s current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations
of the applicant’s conduct may have been instituted.

I have read the Rules of Professional Conduct for the Northern District of Illinois and the Standards for Professional Conduct within
the Seventh Federal Judicial Circuit, and will faithfully adhere to them. I declare under penalty of perjury that the foregoing is true and
correct.


                                                         S/

                    Date                                            Electronic Signature of Applicant

                            Last Name                                         First Name                            Middle Name/Initial
Applicant’s Name


Applicant’s Law Firm

                            Street Address                                                                          Room/Suite Number
Applicant’s Address


                            City                         State                ZIP Code             Work Phone Number



(The pro hac vice admission fee is $1 0.00 and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such
time as the fee has been paid.)


NOTE: Attorneys seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of this Court.
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